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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                 Plaintiffs,
                                                          Civil Action No. 25-cv-400 (AHA)
          v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                 Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                 Plaintiffs,
                                                          Civil Action No. 25-cv-402 (AHA)
          v.

  DONALD J. TRUMP, et al.,

                 Defendants.


                                  JOINT STATUS REPORT

       The parties respectfully submit this joint status report pursuant to the Court’s orders issued

February 22 and February 25, 2025. The parties jointly report that they were unable to come to an

agreement with regard to the facts at issue or the discovery necessary to resolve any factual

disputes, so they have set out their individual statements below.

                                 PLAINTIFFS’ STATEMENT

       Defendants provided their statement for incorporation into this Joint Status Report at 12:04

pm. Noncompliance with the Court’s deadline is not due to any delay on Plaintiffs’ part.




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I.      Plaintiffs’ Statement of the Facts

        Plaintiffs’ Complaints (GHC ECF No. 30-1; AVAC ECF No. 1) and motions to enforce set

forth the facts as alleged in this litigation, and Plaintiffs reaffirm those facts here. In this section,

Plaintiffs set forth additional facts and supporting evidence related to Defendants’ persistent

noncompliance with the provisions of the Court’s TRO and its subsequent orders enforcing the

TRO. To Plaintiffs’ knowledge, in the 13 days since the Court entered its TRO, Defendants have

undertaken no meaningful efforts whatsoever to comply, either with it or the with the Court’s

subsequent orders with respect to enforcement. Instead, Defendants have erected numerous new

barriers to compliance at every turn. This conduct cannot be explained as anything other than

willful defiance of the Court’s orders.

        A.      Defendants implement the Executive Order by terminating contracts,
                suspending grants and cooperative agreements, issuing stop-work orders,
                and pausing disbursement of all foreign-assistance funds.

        On January 20, 2025, President Trump issued Executive Order 14,160, entitled

“Reevaluating and Realigning United States Foreign Aid.” 90 Fed. Reg. 8619. The Executive

Order, inter alia, implemented a 90-day spending “pause,” id. § 3(a), directed “[r]eviews of each

foreign assistance program . . . under guidelines provided by the Secretary of State,” id. § 3(b),

and ordered “[t]he responsible department and agency head[],”to “make determinations within 90

days of this order on whether to continue, modify, or cease each foreign assistance program . . .

with the concurrence of the Secretary of State,” id. § 3(c).

        Over the following weeks, Defendants set about implementing the Executive Order

through a series of memoranda and directives issued by USAID and State Department leadership.

See GHC Compl. ¶¶ 41–57; Resp. to Court Order at 1–3 (GHC ECF No. 19); Jessica Doe Decl. ¶¶

2–33 (AVAC ECF No. 26-3). Over the course of four days—from February 9 to 13—Defendants

issued four “tranches” of contracts, grants, cooperative agreements, and awards that had been


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selected by State Department leadership for immediate termination. Resp. to Court Order at 1–3

(GHC ECF No. 19); Jessica Doe Decl. ¶¶ 2–33 (AVAC ECF No. 26-3). These tranches included

hundreds of contracts, grants, cooperative agreements, and awards. See Jessica Doe Decl. ¶¶ 2–33

(AVAC ECF No. 26-3); First Marocco Decl. ¶ 12 (GHC ECF No. 25-1).

       In an email sent February 11, Senior Procurement Executive (SPE) Jami Rodgers directed

agency personnel—namely, the Contracting and Agreement Officers (COs) who manage contracts

and awards—to terminate the contracts and awards en masse, without engaging in any

individualized review, in order to quickly implement “the President’s Executive Order on

Reevaluating and Realigning United States Foreign Aid.” Jessica Doe Decl. ¶ 29 (AVAC ECF No.

26-3). Senior Procurement Executive Jami Rodgers further stated that “[a]n Action Memorandum

for each tranche of awards was reviewed and cleared through the State Department’s Director of

Foreign Assistance and approved by the Secretary. These action memos will be filed in a shared

drive. This documentation along with this email can be used to support the terminations.” Id. Those

action memos were never shared with COs. Id. ¶ 30.

       During the same period, Defendants halted outgoing disbursements from USAID and the

State Department pursuant to the Executive Order. On January 27, Certifying Officers worldwide

reported that certified payments were not being processed through USAID’s accounting system

(Phoenix) to the U.S. Treasury for disbursement. Della Doe Decl. ¶ 6. On February 3, Certifying

Officers lost the ability to certify payments in Phoenix. Id. On February 5, all USAID controllers

received a diplomatic cable stating that USAID personnel could no longer process payments

themselves but must request approval from a State Department official. Id., Ex. 1 (Walter Doe

Decl. ¶ 10). And on February 11, COs were notified that Phoenix was closed and that “the Agency

has temporarily restricted access to Phoenix until further notice.” Jessical Doe Decl. ¶ 32 (AVAC




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ECF No. 26-3). During this period all disbursements from USAID and the State Department to

implementing partners stopped. See id.; Decls. in Support of TRO Mot. (GHC ECF No. 7).

       B.      The Court enjoins the Restrained Defendants from implementing the
               Executive Order.

       On February 13, 2025, the Court enjoined all Defendants aside from President Trump (the

“Restrained Defendants”) from enforcing or giving effect to Sections 1, 5, 7, 8, and 9 of Dep’t of

State, Memorandum, 25 STATE 6828 (Jan. 24, 2025), and any other directives that implement

Sections 3(a) and 3(c) of Executive Order Number 14,169, “Reevaluating and Realigning United

States Foreign Aid” (Jan. 20, 2025). TRO at 14 (ECF No. 21). The Court’s order has two primary

components: It enjoins the Restrained Defendants from “suspending, pausing, or otherwise

preventing the obligation or disbursement of appropriated foreign-assistance funds in connection

with any contracts, grants, cooperative agreements, loans, or other federal foreign assistance award

that was in existence as of January 19, 2025.” Id. And it enjoins the Restrained Defendants from

“issuing, implementing, enforcing, or otherwise giving effect to terminations, suspensions, or stop-

work orders in connection with any contracts, grants, cooperative agreements, loans, or other

federal foreign assistance award that was in existence as of January 19, 2025.” Id.

       C.      Defendants are not complying with the Court’s order with respect to “the
               obligation or disbursement of appropriated foreign-assistance funds”

       Since the Court issued the TRO, Defendants have taken no meaningful steps to comply

with the TRO’s injunction of the spending pause.

       First, Defendants have maintained the Executive Order’s pause of all foreign-assistance

funds. See Second Marocco Decl. ¶¶ 11–20 & Ex. C (GHC ECF 39-1). To Plaintiffs’ knowledge,

Defendants have made no or almost no disbursements of foreign-assistance funds since the Court

issued the TRO or since the Court’s order granting Plaintiffs’ motion to enforce yesterday.

Notably, the most recent Marocco Declaration does not identify a single payment issued since the


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Court entered the TRO; nor does it describe any specific actions undertaken by Defendants or

agency personnel to restart payments in the past 13 days. The Marocco Declaration also does not

dispute that even after the Court entered the TRO, “Secretary Rubio . . . implemented a [new] 15-

day disbursement pause on all $15.9B worth of grants at the State Department.” Dunn-Georgiou

Decl. ¶ 3 (GHC ECF No. 29-1).

       Second, Defendants have issued no guidance on how agency personnel should implement

the TRO’s injunction of the spending pause. See Della Doe Decl. ¶¶ 8–9. In the 13 days since the

TRO was issued, there has been no official (or unofficial) guidance released to USAID’s Certifying

Officers concerning how the TRO’s injunction of the spending pause should be implemented. Id.

The only new official guidance USAID issued to Certifying Officers since the TRO was on

February 20 and concerned the Agency’s own administrative payments, such as staff salaries and

benefits, rent, utilities, and security services. Id. And notably, the only guidance cited by the

Marocco Declaration concerns a FAQ dated February 24 regarding the implementation of

exceptions and waivers under the blanket spending pause, which confirms that the pause remains

in effect. Second Marocco Decl., Ex. C (GHC ECF 39-1).

       Third, Defendants have added new layers of review to all disbursements of foreign-

assistance funds, including requiring line-by-line policy justifications for payments for past work

that has already been approved through normal approval processes. See Ellie Doe Decl. ¶¶ 9–15;

Della Doe Decl. ¶¶ 8–11; Clara Doe Decl. ¶¶ 11–15; see also Mot. to Enforce at 7 (GHC ECF No.

29) (describing artificial bottleneck). And because Defendants are treating the foreign-assistance

pause as still in effect, they are requiring all approvals of disbursements of funds for work prior to

January 24 to be approved under the waiver categories set out in 25 STATE 6828, which imposes

additional significant approval and documentation requirements. See Second Marocco Decl., Ex.

C (GHC ECF 39-1); Ellie Doe Decl. ¶¶ 9–15; Della Doe Decl. ¶¶ 10–11.


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       Fourth, approvals for all payments are being routed through a single (or a small number

of) political appointees, who are refusing to authorize essentially any payments. See Della Doe

Decl. ¶¶ 7, 9; Northrip Decl. ¶ 8 (GHC ECF No. 29-6); see also Second Marocco Decl., Ex. C

(GHC ECF 39-1). Public reporting also indicates that “DOGE” employees acting at the direction

of Elon Musk have “veto[ed]” payments that make it through that authorization process.1

       Fifth, USAID’s and the State Department’s payments mechanisms were operating

effectively prior to January 20 until Defendants introduced the technical problems that they now

say make it difficult to comply with the TRO. Specifically, the most recent Marocco Declaration

states that “both State and USAID” previously could process “several thousand payments each

day.” Second Marocco Decl. ¶ 15 (GHC ECF 39-1). But now Defendants complain that it will take

“multiple weeks” for USAID to process only “2,000 outstanding and newly created payment

requests.” Id. ¶ 4. It should come as no surprise that Defendants cannot timely process the volume

of payments needed when they have disrupted access to the agencies’ payment systems, added

additional unnecessary processes and procedures into the systems, and funneled all payments

through an artificial bottleneck of just a few political appointees who are not familiar with the

underlying contracts and awards. See Clara Doe Decl. ¶¶ 12–15. That said, if Defendants had

begun complying with the Court’s order 13 days ago, they would surely now be able point to some

progress in that time. Cf. Second Marocco Decl. ¶ 4 (GHC ECF 39-1). But Defendants have not

even identified any steps taken to comply.




1
   Matt Bai, The blinding contempt of the DOGE bros, Wash. Post (Feb. 24, 2025),
https://www.washingtonpost.com/opinions/2025/02/24/musk-doge-usaid-cuts-dc/.


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       Sixth, Defendants’ asserted interest in combatting fraud is pretextual, and the additional

processes are unnecessary to prevent overpayments. See Clara Doe Decl. ¶¶ 9–21; Zahra Decl.

¶¶ 11, 16–21; Mot. to Enforce at 10 & n.7 (GHC ECF No. 29) (citing sources).

       Seventh, if Defendants abandoned their untested and unnecessary new policies, procedures,

and approvals, USAID and the State Department would be able to process payments in a timely

manner. See Clara Doe Decl. ¶¶ 12–15. Contrary to Mr. Marocco’s statement in his declaration

filed last night that “there are currently no payments prepared and sitting in the USAID system

that can be readily sent to the recipients,” (GHC ECF 39-1, ¶ 19), Plaintiffs became aware less

than three hours before the filing of this joint status report of specific information showing that

that is not the case. Multiple Contracting and Award Officer Representatives have indicated to

Plaintiffs—including through screenshots of USAID’s payment system and memos to file—that

there are, in fact, vouchers and invoices that have been fully reviewed and cleared for payment

and therefore can and should be paid promptly.2

       D.      Defendants are not complying with the Court’s order with respect to
               “terminations, suspensions, or stop-work orders.”

       Since the Court issued the TRO, Defendants have also taken no meaningful steps to comply

with the TRO’s provision with respect to terminations, suspensions, or stop-work orders.

       First, to Plaintiffs’ knowledge, Defendants have continued to treat all terminations issued

prior to the issuance of the TRO as continuing in full force and effect. See First Marocco Decl.

¶¶ 12, 16. In fact, Defendants issued guidance that the TRO had “[n]o effect on terminated

awards.” Zahra Doe Decl. ¶ 13.




2
     Given when they learned this information, Plaintiffs were not able to present this information
in a citable form at the time of filing this joint status report. Plaintiffs stand ready to present this
information to the Court through declarations at the Court’s request.


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       Second, a small number of suspensions and stop-work orders with respect to grants and

cooperative agreements have been lifted. See, e.g., Dunn-Georgiou Decl., Exs. A–C (GHC ECF

No. 29-1). But, in Plaintiffs’ and their members’ experiences, the overwhelming majority of

suspensions and stop-work orders remain in effect. See Zahra Doe Decl. ¶¶ 10–17.

       Third, the terminations issued prior to the Court’s TRO (none of which have been

rescinded) are being maintained for pretextual reasons. Senior agency officials have stated that

Secretary Rubio has individually reviewed all of the prior terminations and determined that they

were allowable under the terms of the individual awards, and that the terminations are in the

national interest and consistent with priorities. But, as explained below, it would be impossible for

one person or even a group of people to meaningfully review all of these contracts and awards in

such a short period. See also Zahra Doe Decl. ¶¶ 36–37. Nor is it plausible that every single

contract or award originally terminated under a blanket ban of hundreds of contracts would—on

subsequent review, applying different criteria—each individually be terminated.

       Fourth, since the Court issued the TRO, Defendants have continued issuing new tranches

of terminations, re-sending prior tranches (which had been originally issued before the TRO), and

directing COs to terminate all of the awards as quickly as possible without any further individual

review. On February 23, SPE Rodgers circulated a fifth tranche of contract terminations and

directed COs to an FAQ dated February 20, 2025, which did not discuss the TRO but rather

continued to refer to the Executive Order. See Zahra Doe Decl. ¶ 24. Specifically, the FAQ stated:

“The termination authority is delegated to the Senior Procurement Executive from the Acting

USAID Administrator, Secretary Rubio, who has instructed USAID to terminate these awards as

part of the President’s Executive Order on Reevaluating and Realigning United States Foreign

Aid. Please refer to the M/OAA Director’s email to A&A staff dated February 10, 2025.” Id.

       Undersigned counsel for Plaintiffs in Case 25-cv-402 immediately alerted counsel for the


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Defendants of Defendants’ noncompliance with the TRO. An hour later, USAID Industry Liaison

Matthew Johnson sent an email stating that the FAQ had been retracted: “The Q&A document sent

around earlier has been withdrawn and will be updated. That document reflected an outdated and

now inaccurate version with several citations that indicated that President Trump’s Executive

Orders were the basis for termination actions.” Id. ¶ 26. The email continued: “For the avoidance

of doubt, Tranche 5 termination authority has no relationship to any Executive Order. These

awards were individually reviewed by Secretary Rubio and the USAID Front Office and were

determined to be inconsistent with the national interest and Agency priorities.” Id. ¶ 27. The email

continued: “Accordingly, USAID has elected to enforce termination authorities in the relevant

instruments. Similarly, Secretary Rubio has individually reviewed Tranches 1-4 and made similar

determinations in his capacity as Acting Administrator of USAID.” Id. ¶ 28.

       Similarly, on February 24, Senior Technical Advisor (STA) Adam Cox, sent an email

stating that he and remaining COs in Washington had “been instructed by DOGE and [SPE] Jami

[Rodgers] to terminate several awards tonight, so you may see some awards of yours that have

been terminated. You should be CC’d on any emails that are going out. This of course will have

to be officially done later in time through a GLAAS action from someone [else] in the

Mission/Region covering that portfolio, but I wanted to give you a heads up.” Id. ¶ 33. The email

continued: “There are MANY more terminations coming, so please gear up!” STA Cox also stated

in private messages that “DOGE” had originally planned to call COs around the world “in the

middle of the night” and force them to terminate the awards. Id. ¶ 34. This was considered but

rejected as not “feasible.” Id. He also stated, “Supposedly these [new terminations] do not violate

the TRO because they were individually reviewed by Rubio and this was overseen by DOJ.” Id.

He further stated, “Rubio reviewed and wants action.” Id.

       Fifth, leadership within the agencies have circulated no memorandums or legal opinions


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justifying their actions, either before or after the Court issued the TRO. Id. ¶ 35; Jessica Doe Decl.

¶¶ 29–30 (AVAC ECF No. 26-3).

        Sixth, it is implausible that the Secretary himself or even a group of political appointees

engaged in a meaningful individualized review of the hundreds of contracts and awards terminated

prior to the Court’s TRO or after the Court’s TRO in the past two weeks. Contracts, grants,

cooperative agreements, and other awards are lengthy, technical, and complicated documents.

Zahra Doe Decl. ¶ 36. They often include technical specifications that are dozens of pages long,

as well as lengthy technical appendices. Id. It would take a single person many weeks of work to

substantively review hundreds of contracts and awards, especially if that person was not already

familiar with the programs at issue. Id. Beyond that, without consulting the COs and CORs/AORs

who manage a specific contract or award, it would be impossible in most cases to understand

whether a specific award could be terminated, effective immediately, without incurring even

greater termination costs or causing even greater harms to the national interest or agency priorities.

Id. ¶ 37. For example, the COs and CORs/AORs have specific information about the status of

ongoing work, whether immediate termination would incur sunk costs (for example, by allowing

already-purchased food and medicine to expire), whether immediate termination would risk the

health or safety of Agency personnel or implementing partners, among many other award-specific

factors. Id.

        E.     Defendants have terminated the overwhelming majority of USAID personnel
               in a manner that make compliance with the Court’s order extremely
               difficult, if not impossible.

        Finally, the government has dramatically reduced USAID’s workforce in recent days in a

matter that will have the predictable effect of making compliance with the TRO extremely difficult,

if not impossible, going forward. There are insufficient remaining employees to effect payments




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or manage contracts, grants, cooperative agreements, and other awards going forward. Della Doe

Decl. ¶ 12; Sandra Doe Dec. ¶¶ 13–14; Mot. to Enforce at 9 (GHC ECF No. 29) (citing sources).

II.      Plaintiffs’ Proposed Discovery Plan

         Plaintiffs met and conferred with the government at 9:00 am this morning, February 26,

2025—the earliest time that Defendants stated they would be able to meaningfully confer—to seek

to discern the government’s position on the factual contentions set forth above. The government

stated that it was not in a position to respond to any of Plaintiffs’ contentions. Plaintiffs therefore

have identified witnesses and documents that bear on the disputes regarding the government’s

compliance with the TRO and the Court’s orders.

      A. Witnesses

         1. Pete Marocco

         Pete Marocco has submitted several extensive declarations in this matter attesting to the

government’s purported compliance with the TRO. The government represented to Plaintiffs that

they consider that Mr. Marocco is competent and the most appropriate witness to speak to these

issues. Plaintiffs agree that Mr. Marocco’s testimony may be necessary to evaluate Defendants’

compliance with the TRO, but it is not sufficient. As noted above, in just the last few hours,

Plaintiffs have received specific information from career USAID personnel contradicting

statements made in the declaration Mr. Marocco filed last night. And this case is not the first time

career USAID staff have questioned Marocco’s statements and competence. In 2020, a dissent

channel memo stated that Marocco “leveraged once-routine administrative processes to reopen

previously-approved plans, interrogate and redirect country programs, halt movement on

programs, procurements, and people, and inject uncertainty into daily operations and office

planning.”     USAID,     Dissent     Channel     Memo      (Sept.    17,    2020),    available    at

https://static.politico.com/02/1a/e19abea24ed0afd7ec69eada8d24/oti-dissent-channel-memo-


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91720.pdf. “He has eschewed providing direction in writing or through other formal channels, and

rarely sent guidance to teams directly implicated. Instead, he has conveyed orders and decisions,

sometimes only orally, to individual staff … who then must attempt to relay this information as

best they can to colleagues. This has inevitably generated significant confusion over intent and

expectations, and made it difficult to confirm decisions or maintain adequate records.” Id.

       2. Marco Rubio

       Defendants indicated that they would resist Secretary Rubio being called as a witness under

the apex doctrine. However, Defendants have represented to this Court that Secretary Rubio had

“personal involvement” in decisions to terminate contracts and grants. Second Marocco Decl. ¶¶

5, 6. Communications from senior agency officials have also stated that Secretary Marocco

“individually” reviewed hundreds of contracts and awards and determined to terminate them.

Zahra Doe Decl. ¶¶ 27–28, 34.

       3. Jami Rodgers

       Mr Jami Rodgers is a senior bureau official at USAID. He has been delegated termination

authority by Secretary Rubio and has been responsible for issuing guidance to agency personnel

about terminations of contracts. Zahra Doe Decl. ¶ 24.

       4. Senior Bureau Official at State Department

       Plaintiffs consider that it would be useful to hear live testimony from a career senior bureau

official at the State Department who has firsthand knowledge about terminations.

       5. Career officials competent to testify about payment

       It would be useful to hear live testimony from career, nonpolitical agency personnel, both

at USAID and at the State Department—potentially from in the office of the Chief Financial

Officer of USAID and the office of the Under Secretary for Management (M) at the State




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Department—who have firsthand knowledge about decisions and processes relating to payments

and disbursements.

   B. Documents

       Discovery of documents in the following categories would assist the parties and the Court

in assessing the government’s compliance with the Court’s orders. Plaintiffs’ proposals are not

intended to be unduly burdensome or vexatious; Plaintiffs are necessarily limited in their

knowledge of what documents exist, how voluminous they are, and how difficult they would be to

locate and produce. In the limited time in which the government was available to meet and confer,

the government did not offer any views on potential document requests or on ways to narrow them.

Plaintiffs remain open to tailoring or narrowing document requests with the Court’s guidance and

further input from Defendants.

Terminations

       1. All documents reflecting the rescission or lifting of terminations of contracts issued

            between January 20, 2025 and February 13, 2025.

       2.    For contracts terminated between January 20, 2025 and February 13, 2025:

               a. The administrative record for the original termination, including but not limited

                   to the “Action Memoranda” referred to in Special Procurement Executive Jami

                   Rodgers’ communication of February 11, 2025, instructing contracting officers

                   to terminate awards in Tranches 1-3. See AVAC ECF No. 26-3, ¶ 29.

               b. All documents memorializing the reasons for maintaining the termination in

                   effect after February 13, 2025.

       3.    A list of all contracts terminated after the issuance of the TRO, specifying (1) the date

             of each termination and (2) the reason for each termination.



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      4.    The administrative record for the termination of any contract after the issuance of the

            TRO.

      5.    The spreadsheets referred to in paragraph 5 of the Second Marocco Declaration (GHC

            ECF 39-1), reflecting (1) policy staff’s “first line review,” (2) the “senior policy

            official’s recommendations”, (3) Mr Marocco’s determinations, and (4) the review

            of the Secretary of State.

      6.    The list referred to in paragraph 6 of the Second Marocco Declaration (GHC ECF

            39-1), reflecting (1) the review, recommendations, and justifications of the Senior

            Bureau Official, and (2) the edits made by the Office of the Secretary pursuant to the

            Secretary’s instructions.

      7.    The “other lists of contracts and grants that were sent to the leadership at USAID for

            termination through a content search or other means and these were approved for

            termination,” referred to in paragraph 6 of the Second Marocco declaration.

Suspensions/stop-work orders

      8.    A list of all suspensions/stop-work orders issued between January 20, 2025 and

            February 13, 2025.

      9.    A list of all suspensions or stop-work orders issued between January 20, 2025 and

            February 13, 2025 that have been rescinded, listed by date, specifying the reason for

            each rescission (including but not limited to whether the activities covered were

            subject to a waiver).

      10.   The administrative record for the issuance of any stop-work or suspension order since

            the issuance of the TRO.




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Payments

       11.   A list of all payments made to implementing partners since February 13, 2025, by

             date, amount, and specifying whether each payment was for activities subject to a

             waiver.

       12.   Documents reflecting or describing the procedures and systems used to process

             payments prior to January 20, 2025.

       13.   To the extent not already provided to the Court and to Plaintiffs, copies of all

             directives and instructions issued to contracting officers and agreement officers about

             the processing of payments, dated after February 13, 2025.

       14.   The administrative record for the decision to implement new payment systems and

             processes.

       15.   A list of all pending payment requests since February 13, 2025 that have not yet been

             approved.

       16.   All evidence relating to DOGE employees’ oversight of payments.

       17.   All evidence that any payment to any Plaintiffs or their members for work completed

             prior to January 20, 2025 would present a risk of waste, fraud, or abuse.

                                DEFENDANTS’ STATEMENT

       1.      After the Court issued a TRO on February 13, 2025, the Department of State and

USAID issued both public notice, via the sam.gov website, and notice to the counterparties to their

various agreements that the TRO was in effect that quoted the operative terms of that Order. No.

1:25cv400, ECF 22-2 & 22-3. Separately, the Department of State and USAID issued directives

to contracting officers and grant officers to comply with the TRO, again quoting the operative

terms of the TRO. Id. ECF 22-4 & 22-5. For example, USAID’s Chief Acquisition Officer and

Senior Procurement Executive instructed, “Accordingly, until further notice, all Contracting and


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Agreement Officers should not enforce any Agency directive issued under Executive Order 14169

and the Secretary’s implementing memorandum that requires the generalized stop work,

suspension, or pause of Agency contracts, grants, or other federal assistance awards.”

       2.      Given the Court’s order restraining the generalized pause, Defendants moved

quickly to conduct “a good-faith, individualized assessment of [each] contract or grant and, where

the terms or authority under law allows, taking action with respect to that particular agreement

consistent with any procedures required.” Glob. Health, ECF No. 28 at 2, 6. More specifically, in

order to comply with the TRO, Defendants have been expeditiously examining each USAID and

State foreign assistance award on an individual basis and through a multi-step process to determine

whether, beyond the directives to the contract and grants officers to comply with the TRO, USAID

and State will either lift the particular stop work orders or terminate the funding instrument under

authority conferred by both the contracts/grants and independent legal authority. 2/25 Marocco

Decl. ¶ 3.

       3.      As of this morning, that process has been completed for USAID and State

Department. 2/26 Marocco Decl. ¶¶ 1-2. Secretary Rubio has now made a final decision with

respect to each award, on an individualized basis, affirmatively electing to either retain the award

or terminate it pursuant to the terms of the instrument or independent legal authority as inconsistent

with the national interests and foreign policy of the United States. See id. USAID is in the process

of processing termination letters with the goal to reach substantial completion within the next 24-

48 hours. As a result, no USAID or State obligations remain in a suspended or paused state. In

total, nearly 5800 USAID awards were terminated, and more than 500 USAID awards were

retained. The total ceiling value of the retained awards is approximately $57 billion. In total,

approximately 4,100 State awards were terminated, and approximately 2,700 State awards were

retained. Defendants are committed to fully moving forward with the remaining awards and


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programs that USAID and Secretary Rubio have determined to retain.

       4.      As to past-due payments on work completed before January 24, 2025, Secretary of

State Rubio has directed that invoices identified by the Plaintiffs be processed and expedited for

payment without the ordinary vetting procedures, in a good-faith effort to comply with the Court’s

order of February 25, 2025. Those payments from State, in the amount of approximately $4

million, are expected to be issued today. With respect to USAID, however, even with this

expedition and the bypassing of ordinary payment protocols, USAID expects it could take up to

two weeks for the payments to issue to the Plaintiffs due to the larger volume of payments

requested and the need to manually identify, review, and pull each invoice. See 2/26 Marocco

Declaration ¶¶5-7 (explaining why time is needed). Nevertheless, certain funds, exceeding $11

million, have been released for transfer to certain of the Plaintiffs this morning. 2/26 Marocco

Declaration ¶¶3-4. This process has already begun and is being prioritized by the agency. For this

and other reasons, Defendants have sought an emergency stay of the Court’s order from this Court

and the Court of Appeals.

       5.      As to parties not before the Court, it is not technically possible for Defendants to

process all payments by February 26 at 11:59pm. For USAID, it is estimated that the Court’s order

would require the payment of at a minimum $1.5 billion dollars across approximately 2,000

payment requests, including many that need to be newly created. For State, it is estimated that the

Court’s order would require the payment of at a minimum $400 million in outstanding payment

requests. These payments cannot be accomplished in the time allotted by the Court and would

instead take multiple weeks. 2/25 Marocco Decl. ¶ 4. Again, for this reason among others,

Defendants have sought emergency relief from this Court and the Court of Appeals.

       6.      Additional time is required because restarting funding related to terminated or

suspended agreements is not as simple as turning on a switch or faucet. Rather, the payment


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systems of USAID and State are complicated and require various steps before payments are

authorized to be disbursed by the U.S. Treasury, Department of Health and Human Services,

and/or the Department of State, involving multiple agencies, which are not a party to this litigation.

The approval process must comply with the Federal Managers Financial Integrity Act and the

Federal Financial Management Improvement Act. At a high level, their payment system requires:

(1) working with vendors, (2) creating new payment requests, (3) getting them certified, (4) getting

them re-certified, and (5) effectuating payments electronically through the Department of the

Treasury, Health and Human Services or if overseas through the Department of State, or a

combination thereof. The documentary evidence necessary to ensure compliance with policy

added time to a process that already required certain controls, including appropriate separation of

duties, to validate an invoice, review for compliance with appropriation law and accounting

standards, and make the final payment. Adding an additional documentation step into an existing

complex process, takes time to before it is fully efficient. Training for the staff, adjusting the

system, and developing data management tools all resulted in a backlog of payments which is

being addressed. Id. ¶ 14. Again, as described above, the Secretary has directed that payments to

the plaintiffs be expedited pursuant to this Court’s order, including by bypassing these important

checks and protocols, but even then, full payment cannot feasibly be accomplished by midnight

tonight.

       7.      Defendants have provided substantial information regarding their compliance with

the Court’s order, including multiple declarations. Discovery is thus unnecessary. Rather, the

parties should proceed in the ordinary course, beginning with the resolution of the preliminary

injunction motion on which the Court has stated it will rule with expedition.

       8.      Nevertheless, Plaintiffs through their submission today propose to seek expansive

discovery to support their characterizations of Defendants’ TRO compliance, including contract-


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specific documents and testimony from both high-level and subordinate officials in USAID and

State. Plaintiffs’ requests are inconsistent with this Court’s most recent order, which noted “that

the TRO does not place this Court in the position of supervising Defendants’ determinations as to

whether to continue or terminate individual grants based on their terms.” ECF 34 at 3.

        9.       Plaintiffs’ proposal is particularly inappropriate given that they press claims under

the Administrative Procedure Act, where the “focal point for judicial review” is “the administrative

record already in existence, not some new record made initially in the reviewing court.” Camp v.

Pitts, 411 U.S. 138, 142 (1973).

        10.      The issues on which Plaintiffs now demanding discovery also far exceed the scope

of the TRO-phase of these actions. They concern distinct policy decisions, personnel decisions,

and individual contract-specific decisions, none of which even bears on TRO compliance, and

much of which would only be appropriately considered in an individual breach of contract action

that would be governed by distinct statutory, regulatory, and administrative processes. Plaintiffs’

misguided effort to use the TRO phase of these actions as a platform for seeking sweeping judicial

oversight of two entire agencies and every aspect of their operations is properly rejected.

        11.      To the extent that the Court requires testimony on Defendants’ compliance efforts,

Pete Marocco “manage[s] the day-to-day operations at USAID” and also serves as Director of

Foreign Assistance at the Department, and has provided the declarations previously submitted in

this case. Id. ¶ 2.

        12.      In that regard, any effort to seek testimony from Secretary Rubio should be rejected.

“[T]op executive department officials should not, absent extraordinary circumstances, be called to

testify regarding their reasons for taking official actions.” Simplex Time Recorder Co. v. Sec’y of

Labor, 766 F.2d 575, 586 (D.C. Cir. 1985) (citing United States v. Morgan, 313 U.S. 409, 422

(1941) (Morgan II)); see also Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252,


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268 (1977); cf. In re Dep’t of Com., 139 S. Ct. 16, 17 (2018) (mem.) (opinion of Gorsuch, J., joined

by Thomas, J.) (agreeing with order staying deposition of Cabinet secretary). Hence, the D.C.

Circuit and other circuits have issued writs of mandamus to prevent compulsion of testimony from

high-level Government officials. In re Cheney, 544 F.3d 311, 314 (D.C. Cir. 2008) (per curiam)

(Vice President’s Chief of Staff); accord In re McCarthy, 636 F. App’x 142 (4th Cir. 2015) (EPA

Administrator); In re United States (Jackson), 624 F.3d at 1372-73 (same); In re United States

(Reno & Holder), 197 F.3d 310, 313-14 (8th Cir. 1999) (Attorney General and Deputy Attorney

General); In re United States (Kessler), 985 F.2d 510, 512-13 (11th Cir. 1993) (per curiam) (FDA

Commissioner). Simply put, “[t]he duties of high-ranking executive officers should not be

interrupted by judicial demands for information that could be obtained elsewhere.” In re Cheney,

544 F.3d at 314. Hence, testimony from Secretary Rubio because of his role in the decisional

process concerning the contracts and grants at issue in these cases would not be justified by the

necessary “exceptional” circumstances, given the availability of Marocco. Requiring Secretary

Rubio’s testimony by contrast “would constitute an ‘unwarranted impairment’ of the functioning

of” the Department. In re Cheney, 544 F.3d at 314 (quoting Cheney, 542 U.S. at 390).

       13.     Per the Court’s oral ruling on February 25, Defendants attach guidance issued by

USAID and State since the TRO.

                                         *       *       *




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Dated: February 26, 2025                   Respectfully submitted,

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